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                    ELEVENTH CIRCUIT TRANSCRIPT INFORMATION FORM
 PART I.                                  TRANSCRIPT ORDER INFORMATION
 Appellant to complete and file with the District Court Clerk and the Court of Appeals Clerk within 14 days of the filing of the notice of
 appeal in all cases, including those in which there was no hearing or for which no transcript is ordered.

 Short Case Style: United States                                               vs Burnette
 District Court No.: 4:18-cr-00076-RH-EMT-3            Date Notice of Appeal Filed: 11/12/2021             Court of Appeals No.: 21-13990
                                                                                                                                       (If Available)
 CHOOSE ONE: ‫ ܆‬No hearing ‫ ܆‬No transcript is required for appeal purposes ‫ ܆‬All necessary transcript(s) on file
                           ‫ ܆‬I AM ORDERING A TRANSCRIPT OF THE FOLLOWING PROCEEDINGS:

 Check appropriate box(es) and provide all information requested:
                                   HEARING DATE(S)                        JUDGE/MAGISTRATE                        COURT REPORTER NAME(S)
 ‫ ܆‬Pre-Trial Proceedings All pre-trial proceedings (see Appendix A)
 ‫ ܆‬Trial All trial proceedings (see Appendix A)
 ‫ ܆‬Sentence 11/9/2021 // Judge Hinkle // Judy Gagnon
 ‫ ܆‬Plea
 ‫ ܆‬Other
 METHOD OF PAYMENT:
 ‫ ܆‬I CERTIFY THAT I HAVE CONTACTED THE COURT REPORTER(S) AND HAVE MADE SATISFACTORY
   ARRANGEMENTS WITH THE COURT REPORTER(S) FOR PAYING THE COST OF THE TRANSCRIPT.
 ‫ ܆‬CRIMINAL JUSTICE ACT. My completed AUTH-24 requesting authorization for government payment of transcripts has been uploaded in
      eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district court] or to the circuit judge [if
      ordered by or appointed by the circuit court]. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY
      AUTHORIZED in Item 13 on the AUTH-24: Voir Dire; Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal;
      Jury Instructions.]

 Ordering Counsel/Party:     Amy Mason Saharia / John Thomas Burnette

 Name of Firm: Williams & Connolly LLP
 Address: 725 12th ST NW Washington, D.C. 20005
 E-mail:   asaharia@wc.com                                                                                  Phone No.: 202-434-5847
 I certify that I have completed and filed PART I with the District Court Clerk and the Court of Appeals Clerk, sent a copy to the appropriate Court
 Reporter(s) if ordering a transcript, and served all parties.

 DATE: 11/26/2021              SIGNED: /s/ Amy Mason Saharia                                           Attorney for: John Thomas Burnette

 PART II.                             COURT REPORTER ACKNOWLEDGMENT
 Court Reporter to complete and file with the District Court Clerk within 14 days of receipt. The Court Reporter shall send a copy to
 the Court of Appeals Clerk and to all parties.
 Date Transcript Order received: 12/1/2021
x‫ ܆‬Satisfactory arrangements for paying the cost of the transcript were completed on:       12/1/2021
 ‫ ܆‬Satisfactory arrangements for paying the cost of the transcript have not been made.
 No. of hearing days: 1              Estimated no. of transcript pages: 13             Estimated filing date: 12/7/2021
 DATE:     12/17/2021     SIGNED:     /s/ Megan  A. Hague                              Phone No.: 850-443-9797
 NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the
 transcript were completed unless the Court Reporter obtains an extension of time to file the transcript.
 PART III.         NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
 Court Reporter to complete and file with the District Court Clerk on date of filing transcript in District Court. The Court
 Reporter shall send a copy to the Court of Appeals Clerk on the same date.
 This is to certify that the transcript has been completed and filed with the district court on (date): 12/5/2021
 Actual No. of Volumes and Hearing Dates: 1, 3/17/2020
 Date: 12/17/2021                       Signature of Court Reporter:             /s/ Megan A. Hague

                                                                                                                                           Rev. 12/17
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             ELEVENTH CIRCUIT TRANSCRIPT INFORMATION FORM
                               APPENDIX A

                                  Pre-Trial Proceedings
Hearing Date(s)   Judge/Magistrate Court Reporter ECF No. Notes
5/9/2019          Judge Stampelos DCR TLH                 Initial Appearance and
                                                          Arraignment
5/21/2019         Judge Hinkle      Megan Hague 117       Status Conference and
                                                          Motions Hearing
8/6/2019          Judge Hinkle      Judy Gagnon           Status Conference and
                                                          Motions Hearing
10/11/2019        Judge Hinkle      Judy Gagnon     176   Status Conference and
                                                          Motions Hearing (excerpt)
10/11/2019        Judge Hinkle      Judy Gagnon           Remaining portions of
                                                          Status Conference and
                                                          Motions Hearing
12/19/2019        Judge Hinkle      Lisa Snyder     203   Status Conference and
                                                          Motions Hearings
3/17/2020         Judge Hinkle      Megan Hague           Status Conference
4/22/2020         Judge Hinkle      Megan Hague 234       Status Conference and
                                                          Motions Hearing
6/1/2020          Judge Hinkle      Lisa Snyder     266   Status Conference and
                                                          Motions Hearing
7/29/2020         Judge Hinkle      Lisa Snyder     276   Status Conference
9/3/2020          Judge Hinkle      Lisa Snyder     297   Status Conference
11/5/2020         Judge Hinkle      Lisa Snyder           Status Conference
3/10/2021         Judge Hinkle      Lisa Snyder     331   Status Conference
6/24/2021         Judge Hinkle      Judy Gagnon           Case Management
                                                          Conference and Motions
                                                          Hearing

                                         Trial
Hearing Date(s)   Judge/Magistrate Court Reporter   ECF No. Notes
7/12/2021         Judge Hinkle     Judy Gagnon      449     Trial Day 1
7/12/2021         Judge Hinkle     Judy Gagnon      503     Trial Day 1 jury-related
                                                            proceedings
7/13/2021         Judge Hinkle     Judy Gagnon      450     Trial Day 2
7/14/2021         Judge Hinkle     Judy Gagnon      451     Trial Day 3
7/14/2021         Judge Hinkle     Judy Gagnon      452     Sealed Trial Day 3
                                                            proceedings
7/15/2021         Judge Hinkle     Judy Gagnon      453     Trial Day 4
7/16/2021         Judge Hinkle     Judy Gagnon      454     Trial Day 5
7/19/2021         Judge Hinkle     Judy Gagnon      455     Telephone Conference
7/20/2021         Judge Hinkle     Judy Gagnon      456     Trial Day 6
7/21/2021         Judge Hinkle     Judy Gagnon      457     Trial Day 7



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    Case
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                                      Trial (cont.)
Hearing Date(s)   Judge/Magistrate Court Reporter     ECF No.   Notes
7/21/2021         Judge Hinkle     Judy Gagnon        458       Trial Day 7 (Unredacted)
7/22/2021         Judge Hinkle     Judy Gagnon        459       Trial Day 8
7/23/2021         Judge Hinkle     Judy Gagnon        460       Trial Day 9
7/26/2021         Judge Hinkle     Judy Gagnon        461       Trial Day 10
7/27/2021         Judge Hinkle     Judy Gagnon        462       Trial Day 11
7/28/2021         Judge Hinkle     Judy Gagnon        463       Trial Day 12
8/5/2021          Judge Hinkle     Lisa Snyder                  Sealed Proceedings
8/9/2021          Judge Hinkle     Judy Gagnon        464       Trial Day 13
8/10/2021         Judge Hinkle     Judy Gagnon        465       Trial Day 14
8/11/2021         Judge Hinkle     Judy Gagnon        466       Trial Day 15
8/12/2021         Judge Hinkle     Judy Gagnon        467       Trial Day 16
8/13/2021         Judge Hinkle     Judy Gagnon        468       Trial Day 17

                                       Sentence
Hearing Date(s)   Judge/Magistrate Court Reporter     ECF No. Notes
11/9/2021         Judge Hinkle     Judy Gagnon                Sentencing




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